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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

SAHARA,     INC.     D/B/A  ZEUS                 §
MEDITERRANEAN KITCHEN A/K/A                      §
ZEUS GREEK AND LEBANESE CAFÉ                     §
A/K/A ZEUS FRESH FOOD ON THE GO                  §
A/K/A ZEUS CAFÉ;                                 §        CIVIL ACTION NO. 4:19-cv-1534
                 Plaintiff;                      §
v.                                               §
                                                 §
ZEUS CAFÉ, LLC;                                  §           JURY TRIAL DEMANDED
                      Defendant.                 §

                           PLAINTIFF’S ORIGINAL COMPLAINT

       COMES NOW Plaintiff Sahara, Inc. complaining of Defendant Zeus Café, LLC and for

cause of action and as grounds for relief would respectfully show the Court as follows:

                                           PARTIES

       1.      Plaintiff Sahara, Inc. (“Plaintiff” or “Sahara”) is a Louisiana corporation with its

principal place of business at 1103 Pinhook, Lafayette, Louisiana 70503. Sahara does business

as Zeus Mediterranean Kitchen a/k/a Zeus Greek and Lebanese Café a/k/a Zeus Fresh Food on

the Go a/k/a Zeus Café.

       2.      Defendant Zeus Café, LLC (“Defendant”) is a Texas limited liability company

with its principal place of business at 550 Katy-Fort Bend Road, Suite 104, Katy, Harris County,

Texas 77494. Defendant may be served with this pleading and summons in this cause by serving

its registered agent, Jamal A. Khattab, at 550 Katy-Fort Bend Road, Suite 104, Katy, Harris

County, Texas 77494, or wherever he may be found.




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                                     CAUSES OF ACTION

       3.      This is an action for trademark dilution and infringement, false designation of

origin and unfair competition in violation of Sections 32, 43(c) and 43(a) of the Lanham Act, 15

U.S.C. §§ 1114, 1125(a) and (c), the Texas Anti-Dilution Statute, TEX. BUS. & COM. CODE §

16.103, and Texas common law.

                                JURISDICTION AND VENUE

       4.      As appears more fully below, this Court has jurisdiction pursuant to 15 U.S.C. §

1121 and 28 U.S.C. §§ 1331 and 1338 because the claims in this case arise under federal law.

This Court has jurisdiction over the state law claims in this case pursuant to 28 U.S.C. § 1367.

       5.      Venue properly lies in the Southern District of Texas pursuant 28 U.S.C. § 1391

for the reason that Defendant resides in the Southern District of Texas because it is doing

business in the Southern District of Texas and because it is subject to personal jurisdiction in the

Southern District of Texas, and for the reason that a substantial part of the events or omissions

giving rise to the claims occurred in the Southern District of Texas. Defendant has committed

acts of infringement in the Southern District of Texas, has transacted and is transacting business

in the Southern District of Texas and has established and maintains minimum contacts with the

Southern District of Texas.

                                  FACTUAL BACKGROUND

   A. Sahara and its ZEUS trademarks.

       6.      Sahara owns and operates Greek, Lebanese and Mediterranean restaurants,

including twelve (12) locations throughout the State of Louisiana. Sahara operates restaurants in

the Lake Charles, Lafayette, Crowley and Eunice areas, among others throughout Louisiana.

Sahara has been in operation in Louisiana since June 7, 1990.




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       7.      Sahara operates at least three different concepts of restaurants, including: (1)

catering; (2) fast, casual dining; and (3) “express,” or dining on the go. These various dining

concepts operate under the names Zeus Greek and Lebanese Café, Zeus Fresh Food on the Go,

and Zeus Café. In connection with the operation of its restaurants, Sahara has registered and is

the owner of all right, title and interest in three United States trademarks relating to the name and

service mark ZEUS in hotel, bar and restaurant services, café and restaurant services, café-

restaurants, cafetoria and restaurant services, carry-out restaurants, fast-food restaurants, fast-

food restaurants and snackbars, and hotel and restaurant services. Sahara’s trademarks are as

follows:

            a. United States Trademark Registration No. 5,485,108, Serial No. 87-643,827, a
               true and correct copy of which is attached hereto as Exhibit A and is incorporated
               herein by reference as if set forth in full;

            b. United States Trademark Registration No. 3,749,671, Serial No. 77-779,885, a
               true and correct copy of which is attached hereto as Exhibit B and is incorporated
               herein by reference as if set forth in full; and

            c. United States Trademark Registration No. 3,641,789, Serial No. 77-311,338, a
               true and correct copy of which is attached hereto as Exhibit C and is incorporated
               herein by reference as if set forth in full.

These registrations, which are owned by Sahara, are valid, subsisting, uncancelled, unrevoked

and incontestable under 15 U.S.C. § 1065 and entitle Sahara to nationwide protection against

infringement. Sahara’s ZEUS mark has been used by it in its restaurant business for many years.

       8.      Sahara has spent substantial effort, sums of money and other resources to

advertise and promote its ZEUS mark and the goods and services it offers and sells under the

ZEUS mark. As a result, the mark ZEUS has become well-known as identifying Sahara’s goods

and services; has acquired a favorable reputation among members of the purchasing public; and

has become a valuable symbol of Sahara’s goodwill.




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        9.     Sahara has established valuable goodwill in the mark ZEUS, and the relevant

public has come to recognize the mark ZEUS as an indication of products and services that

emanate from Sahara.      Sahara’s ZEUS mark serves to identify and indicate the source of

Sahara’s goods and services to the consuming public, and to distinguish Sahara’s goods and

services from those of others.

    B. Defendant and its activities.

        10.    Defendant Zeus Café, LLC is using the name ZEUS in connection with the

operation of a Greek and Mediterranean dining concept restaurant in Katy, Texas. In this regard,

Defendant used the name ZEUS in the formation of a Texas entity for operation of its restaurant,

the entity name being Zeus Café, LLC. Defendant continues to use the name ZEUS in the name

of its operating entity. Defendant is also using the name ZEUS in the name of the restaurant,

which is called Zeus Café.       Defendant is using the name ZEUS on signage, menus and

documentation for its restaurant. Defendant has also established and maintains a Facebook page

using the name “Zeus Café,” which includes information and photographs of Defendant’s

restaurant.

        11.    Defendant is using the ZEUS mark in commerce in Texas, including in this

District.

        12.    Defendant’s unauthorized use of the ZEUS mark commenced after Sahara’s first

use of the mark.

        13.    Defendant is not affiliated with Sahara and Defendant’s use of the name ZEUS is

without the authority, permission or approval of Sahara.




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   C. Effect of Defendant’s activities.

       14.     Defendant’s unauthorized use of the Zeus mark is likely to cause confusion, to

cause mistake, and/or to deceive customers and potential customers of the parties, at least as to

some affiliation, connection or association of Defendant with Sahara, or as to the origin,

sponsorship, or approval of Defendant’s products and services by Sahara.

       15.     Defendant’s unauthorized use of the ZEUS mark falsely designates the origin of

Defendant’s products and services, and falsely and misleadingly describes and represents facts

with respect to Defendant and its products and services.

       16.     Defendant’s unauthorized use of the ZEUS mark enables Defendant to trade on

and receive the benefit of goodwill built up at great labor and expense by Sahara over many

years, and to gain acceptance for Defendant’s products and services not solely on their own

merits, but on the reputation and goodwill of Sahara, its ZEUS mark, and its products and

services.

       17.     Defendant’s unauthorized use of the ZEUS mark unjustly enriches Defendant at

Sahara’s expense. Defendant has been and continues to be unjustly enriched by obtaining a

benefit from Sahara and its goodwill. Specifically, Defendant has taken undue advantage of

Sahara by trading on and profiting from the goodwill in the ZEUS mark developed and owned by

Sahara, resulting in Defendant wrongfully obtaining a monetary and reputational benefit for its

own business and services.

       18.     Defendant’s unauthorized use of the ZEUS mark removes from Sahara the ability

to control the nature and quality of products and services provided under the ZEUS mark, and

places the valuable reputation and goodwill of Sahara in the hands of Defendant, over whom

Sahara has no control.




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       19.     Unless these acts of Defendant are restrained by this Court, they will continue,

and they will continue to cause irreparable injury to Sahara and to the public for which there is

no adequate remedy at law.

                                 FIRST CLAIM FOR RELIEF
                         (Federal Trademark Infringement in Violation of
                            Lanham Act Section 32, 15 U.S.C. § 1114)

       20.     Plaintiff repeats and re-alleges all previous and subsequent allegations and

incorporates same herein by reference as if set forth in full.

       21.     The acts of Defendant complained of herein constitute infringement of Sahara’s

federally registered trademarks in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       22.     Sahara has been damaged by Defendant’s acts of federal trademark infringement.

       23.     As a result of Defendant’s acts of federal trademark infringement, Sahara is

entitled to the remedies provided by Section 32 of the Lanham Act, 15 U.S.C. § 1114 and to

recover profits, damages, costs and attorney’s fees as provided by Section 35 of the Lanham Act,

15 U.S.C. § 1117. Sahara is also entitled to an order requiring destruction of Defendant’s

infringing articles as provided by Section 36 of the Lanham Act, 15 U.S.C. § 1118.

       24.     Defendant’s infringement has been willful and in bad faith, making this an

exceptional case under 15 U.S.C. § 1117.

                                SECOND CLAIM FOR RELIEF
                  (Violation of Lanham Act Section 43(a), 15 U.S.C. § 1125(a))

       25.     Plaintiff repeats and re-alleges all previous and subsequent allegations and

incorporates same herein by reference as if set forth in full.

       26.     The acts of Defendant complained of herein constitute trademark infringement,

false designations of origin, false or misleading descriptions or representations of fact, and unfair

competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).



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       27.     Sahara has been damaged by Defendant’s acts of trademark infringement, false

designations of origin, false or misleading descriptions or representations of fact, and unfair

competition.

       28.     As a result of Defendant’s acts of trademark infringement, false designations of

origin, false or misleading descriptions or representations of fact, and unfair competition, Sahara

is entitled to the remedies provided by Section 43 of the Lanham Act, 15 U.S.C. § 1125 and to

recover profits, damages, costs and attorney’s fees as provided by Section 35 of the Lanham Act,

15 U.S.C. § 1117. Sahara is also entitled to an order requiring destruction of Defendant’s

infringing articles as provided by Section 36 of the Lanham Act, 15 U.S.C. § 1118.

       29.     Defendant’s acts of trademark infringement, false designations of origin, false or

misleading descriptions or representations of fact, and unfair competition have been and are

willful and in bad faith, making this an exceptional case under 15 U.S.C. § 1117.

                               THIRD CLAIM FOR RELIEF
                              (Trademark Dilution in Violation of
                         Lanham Act Section 43(c), 15 U.S.C. § 1125(c))

       30.     Plaintiff repeats and re-alleges all previous and subsequent allegations and

incorporates same herein by reference as if set forth in full.

       31.     After Sahara’s ZEUS mark became famous and distinctive, Defendant

commenced use of a name likely to cause dilution by blurring or dilution by tarnishment in

violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       32.     As a result of Defendant’s acts of dilution by blurring and/or dilution by

tarnishment, Sahara is entitled to the remedies provided by Section 43 of the Lanham Act, 15

U.S.C. § 1125 and to recover profits, damages, costs and attorney’s fees as provided by Section

35 of the Lanham Act, 15 U.S.C. § 1117. Sahara is also entitled to an order requiring destruction

of Defendant’s infringing articles as provided by Section 36 of the Lanham Act, 15 U.S.C. §


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1118. Defendant’s wrongful activities have caused, and unless enjoined by this Court, will

continue to cause, irreparable injury, and other damages to Sahara’s business, reputation and

goodwill in the mark ZEUS. Sahara is therefore entitled to injunctive relief under Section 43(c)

of the Lanham Act, 15 U.S.C. § 1125(c).

       33.      Defendant’s acts of dilution by blurring or dilution by tarnishment have been and

are willful and in bad faith, making this an exceptional case under 15 U.S.C. § 1117.

                                FOURTH CLAIM FOR RELIEF
             (Violation of Texas Anti-Dilution Act, TEX. BUS. & COM. CODE § 16.103)

       34.      Plaintiff repeats and re-alleges all previous and subsequent allegations and

incorporates same herein by reference as if set forth in full.

       35.      Defendant’s unauthorized use of the ZEUS mark constitutes a dilution of Sahara’s

ZEUS mark and injures Sahara’s business reputation in violation of the Texas Anti-Dilution Act,

TEX. BUS. & COM. CODE § 16.103. As a result, Sahara has suffered, and continues to suffer

damages in an amount yet to be determined. In addition, Defendant’s acts of dilution have

resulted and are currently resulting in substantial unjust profits and unjust enrichment for

Defendant in an amount yet to be determined. Defendant’s acts of dilution have also caused, and

unless enjoined by this Court, will continue to cause, irreparable injury, and other damages to

Sahara’s business, reputation and goodwill in the mark ZEUS.

                                  FIFTH CLAIM FOR RELIEF
                                (Common Law Unfair Competition)

       36.      Plaintiff repeats and re-alleges all previous and subsequent allegations and

incorporates same herein by reference as if set forth in full.

       37.      Defendant’s unauthorized use of the ZEUS mark constitutes infringement of

Sahara’s common law trademark rights in the ZEUS mark, as well as unfair competition under

Texas law. Defendant continues to infringe Sahara’s common law trademark rights and to


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commit acts of unfair competition, resulting in confusion and deception of the public and harm to

Sahara’s ZEUS mark.

       38.     As a result of the infringement and unfair competition by Defendant, Sahara has

suffered, and is suffering, damages in an amount yet to be determined. Defendant’s acts of

infringement and unfair competition have resulted and are currently resulting in substantial

unjust profits and unjust enrichment for Defendant in an amount yet to be determined.

                                   SIXTH CLAIM FOR RELIEF
                                     (Attorney’s Fees and Costs)

       39.     Plaintiff repeats and re-alleges all previous and subsequent allegations and

incorporates same herein by reference as if set forth in full.

       40.     The conduct of Defendant set forth above has made it necessary for Plaintiff to

employ counsel to file and prosecute this suit. Plaintiff’s attorneys have expended and will

expend considerable time and effort in bringing this suit against Defendant. Plaintiff is therefore

entitled to recover from Defendant its reasonable attorney’s fees for the services required and

expenses involved pursuant to Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a) and other

applicable statutes and laws.

       41.     Sahara also seeks recovery of pre-judgment and post-judgment interest on its

damages at the highest lawful rate and recovery of its costs of court.

                                    CONDITIONS PRECEDENT

       42.     All conditions precedent to the right of Plaintiff to recover herein have been

performed or have occurred.

                                   REQUEST FOR JURY TRIAL

       43.     Plaintiff hereby demands a trial by jury.




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                                      PRAYER

 WHEREFORE, PREMISES CONSIDERED, Plaintiff Sahara, Inc. prays that:

    a. Defendant Zeus Café, LLC be cited to appear and answer herein;

    b. Defendant, its officers, agents, servants, employees, affiliates, attorneys and all

       other persons in active concert and participation with any of them be preliminarily

       and permanently enjoined and restrained from using in the restaurant or hotel

       industries the ZEUS mark and any other mark, trade name, corporate name or

       domain name that is confusingly similar to or likely to dilute Plaintiff’s ZEUS

       mark, and from any attempt to retain any part of the goodwill misappropriated

       from Plaintiff;

    c. Defendant be required to remove the name “ZEUS” from all of Defendant’s signs,

       storefronts, consumable materials, promotional materials used in the restaurant

       industry and from Defendant’s online presence, including Facebook;

    d. Defendant be required to destroy all devices, signage, literature, advertising

       material, stationery, menus and other printed material containing the name

       “ZEUS;”

    e. Defendant be required to file with this Court and to serve upon Plaintiff, within

       thirty (30) days after the entry and service on Defendant of an injunction order, a

       report in writing and under oath setting forth in detail the manner and form in

       which Defendant has complied with the injunction order;

    f. Defendant be required to provide an accounting of its sales and profits resulting

       from its activities and that such profits be paid over to Plaintiff, increased as the

       Court finds to be just under the circumstances of this case;




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    g. Judgment be rendered in favor of Plaintiff and against Defendant for acts of

       infringement and willful and in bad faith infringement;

    h. Judgment be rendered in favor of Plaintiff and against Defendant for acts of

       dilution and willful and in bad faith dilution;

    i. Plaintiff recover of and from Defendant actual damages and all profits derived by

       Defendant’s violation of Plaintiff’s rights

    j. Plaintiff recover of an from Defendant all sums by which Defendant has been

       unjustly enriched;

    k. Plaintiff recover of and from Defendant such sum as the Court shall find to be just

       according to the circumstances of the case and all other relief provided by Section

       35 of the Lanham Act, 15 U.S.C. § 1117;

    l. Plaintiff recover of and from Defendant such damages as Plaintiff has sustained, or

       will sustain, in consequence of Defendant’s trademark infringement, false designation

       of origin, unfair competition, unfair business practices and trademark dilution;

    m. Plaintiff recover of and from Defendant reasonable attorney’s fees and litigation

       expenses incurred herein;

    n. Plaintiff recover of and from Defendant all costs of court incurred herein;

    o. Plaintiff recover of and from Defendant pre-judgment and post-judgment interest

       at the highest lawful rate; and

    p. Plaintiff recover such other and further relief, both general and special, legal and

       equitable, to which it may show itself justly entitled.




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                                                               Respectfully submitted,

                                                                       /s/Robert M. Corn
                                                                     Robert M. Corn
                                                                     Southern District Bar No. 2064
                                                                     State Bar No. 04828600

                                                               ATTORNEY-IN-CHARGE             FOR     PLAINTIFF
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